107 F.3d 871
    NOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.
    William Andrew MARARRI, Plaintiff-Appellant,v.WCI STEEL, INC., also known as Warren ConsolidatedIndustries, Inc.;  Local 1375 United Steelworkersof America;  United Steelworkers ofAmerica, Defendants-Appellees.
    
      1
      No. 96-3105.
    
    
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      United States Court of Appeals, Sixth Circuit.
    
    
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      Feb. 12, 1997.
    
    
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      Before:  SILER and BATCHELDER, Circuit Judges;  HULL, District Judge*.
    
    ORDER
    
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      This cause having come on to be heard upon the record, the briefs and the oral argument of the parties, and upon due consideration thereof,
    
    
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      It is ORDERED that the judgment of the district court be, and it hereby is, affirmed upon the opinion of the district court.
    
    
      
        *
         The Honorable Thomas G. Hull, United States District Judge for the Eastern District of Michigan, sitting by designation
      
    
    